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                                                                       MEMO ENDORSED
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                                                           November 1, 2021
VIA ECF

Honorable Kenneth M. Karas
United States District Judge
300 Quarropas Street
White Plains, New York 10601

       Re: United States v. Andrea Grossman
           18 CR 625 (KMK)

Dear Judge Karas:

      I respectfully request that the date for the defendant's voluntary
surrender be extended from November 5, 2021 until November 19, 2021. Ms.
Grossman was sentenced on August 5, 2021 and the Judgment & Commitment
was filed on October 7, 2021.

      I was informed today by the U.S. Marshal's Office that Ms. Grossman
has not yet been designated by the Bureau of Prisons and it is unlikely
that she will be prior to her original surrender date.       Were she to
surrender without being designated, she would likely have to spend weeks
at the MDC or another detention center while awaiting designation.

     To be clear, Ms. Grossman would like to                          surrender       as   soon       as
possible but to her designated Federal facility.

      Therefore, I respectfully request that the Court order that Ms.
Grossman surrender no later than November 19, 2021 or within 48 hours
after she receives notice of her designation, whichever is sooner.

     AUSA Nicholas Bradley and Pretrial Officer Andrew Abbott do not
oppose this request.

                                                           Respectfully requested,

                                                           Isl Paul P. Rinaldo
                                                           Paul P. Rinaldo

cc: AUSA Nicholas Bradley,                     ECF
    Officer Andrew Abbott,


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